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6                            IN THE UNITED STATES DISTRICT COURT
7
                             FOR THE NORTHERN MARIANA ISLANDS

8
     LISA BLACK,                                            ) CIVIL ACTION NO. 05-0038
9                                                           )
                     Plaintiff,                             )
10
                                                            )
11                     vs.                                  )
                                                            ) PLAINTIFF’S FINAL PRETRIAL
12   JIM BREWER, individually and in his                    ) EXHIBIT DISCLOSURE
     official capacity as Acting Principal for              )
13   Hopwood Junior High School,                            )
     COMMONWEALTH OF THE                                    )
14
     NORTHERN MARIANA ISLANDS                               )
15   PUBLIC SCHOOL SYSTEM,                                  )
     and JOHN AND/OR JANE DOE,                              )
16                                                          )
                     Defendants.                            )
17                                                          )
18

19          Plaintiff, by and through her attorneys, pursuant to this Court’s Final Pretrial Order,
20   submits the following list of proposed exhibits for introduction at trial.
21

22   Exhibits To Be Offered Into Evidence At Trial:
23   1. Email correspondence regarding PSS teaching positions.
24   2. “Letter of Concern” dated October 6, 2004.
25   3. Report by Dr. Edward Dragan.
26   4. Report by Dr. Larry Hocog.
27   5. Report of Roger Slater
28   6. Statistical analysis of teacher qualifications by PSS, and student performance at Hopwood.
                                                            1
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     7. Emails from Jim Brewer to Austin E. Briggs, Jr and Brad Latzke.
2
     8. Notification of Personnel Action.
3
     9. Letters of Recommendation.
4
     10. Correspondence regarding disputes between Lisa Black, Rory Starky and Katherine Barja.
5
     11. Evaluations of Plaintiff.
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     12. Correspondence regarding propriety of evaluations of Plaintiff.
7
     13. Correspondence regarding letters of concern and formal reprimands.
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     14. Correspondence regarding the investigation of the letter of concern.
9
     15. Various Newspaper Articles reporting on the Letter of Concern.
10
     16. Photographs of Hopwood.
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12
            Dated: January 23, 2007.
13
                                                                  O’CONNOR BERMAN DOTTS & BANES
14
                                                                  Attorneys for Plaintiff Lisa Black
15

16                                                          By: __________/s/__________________
                                                               GEORGE L. HASSELBACK
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